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                IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE NORTHERN DISTRICT OF MISSISSIPPI

 IN THE MATTER OF:                                         CHAPTER 13 NO.:

 WAYMOND NOLEN                                              13-15235-JDW
 SANDRA D. NOLEN

                NOTICE OF TRUSTEE’S MOTION TO DEEM SECTION
                1322(b)(5) CLAIM CURRENT AND DEFAULTS CURED

        Should any party receiving this notice respond or object to said motion, such
response or objection is required to be filed on or before February 21, 2018, with the Clerk
of this Court using the CM/ECF system or at the following address:

                             Shallanda J. Clay, Clerk of Court
                                 U. S. Bankruptcy Court
                              Northern District of Mississippi
                                 703 Highway 145 North
                                   Aberdeen, MS 39730

       A copy of the response must also be served on the Chapter 13 Trustee. If no
responses are filed, the Court may consider said motion immediately after the time for
responses has expired. In the event a written response is filed, the Court will notify you of
the date, time and place of the hearing thereon.

                                      CERTIFICATE

        I, the undersigned attorney for Trustee, do hereby certify that I electronically filed
the foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that
I either mailed by United States Postal Service, first class, postage prepaid, or
electronically notified through the CM/ECF system, a copy of the above and foregoing to
all affected creditors and their attorney(s), if known.

       Dated: January 28, 2019
                                           LOCKE D. BARKLEY, TRUSTEE

                                           /s/ W. Jeffrey Collier
                                           ATTORNEYS FOR TRUSTEE
                                           W. Jeffrey Collier (MSB 10645)
                                           Melanie T. Vardaman (MSB 100392)
                                           6360 I-55 North, Suite 140
                                           Jackson, Miss. 39211
                                           (601) 355-6661
                                           ssmith@barkley13.com
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

 IN THE MATTER OF:                                    CHAPTER 13 NO.:

 WAYMOND NOLEN                                        13-15235-JDW
 SANDRA D. NOLEN

                    TRUSTEE’S MOTION TO DEEM SECTION
              1322(b)(5) CLAIM CURRENT AND DEFAULTS CURED

      COMES NOW the Trustee, Locke D. Barkley, by and through counsel, and files

this Motion to Deem Section 1322(b)(5) Claim Current and Defaults Cured as to the

claim of the creditor identified herein.

      The Trustee requests an order of this Court deeming the below referenced

continuing mortgage claim contractually current and pre-petition defaults cured, as

of the date stated in Part C below.



A.    Creditor and Claim:
Creditor:    Citibank, N.A. as trustee for CMLTI Asset Trust
Where notices should be sent pursuant to Notice of Transfer:
             Fay Servicing, LLC
Court claim no.: 13
Last four digits of account number (if known): 1955
B.    Pre-Petition Arrears Cured:
Amount of allowed pre-petition arrearage:    $7,012.34
Amount paid by Trustee:                      $7,012.34
C.    Continuing Monthly Mortgage Payment:
As of the date of the final disbursement by the Trustee, continuing monthly mortgage
payment is contractually current through: January 2019
Total amount of continuing payments disbursed by the Trustee: $50,807.26
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      WHEREFORE, PREMISES CONSIDERED, the Trustee requests this Court

enter its order:

      a.     Deeming all prepetition defaults cured and the contractual payments

due on Debtor’s mortgage loan current through the month of January 2019;

      b.     Any post-petition mortgage fees, expenses, or charges which the

Creditor may allege owed, for which a Notice of Postpetition Mortgage Fees,

Expenses, and Charges was not timely filed pursuant to Rule 3002.1(c), are

disallowed, subject to discharge, and may not be collected by the Creditor; and

      c.     Awarding such other and further relief as is just and proper.

      Dated: January 28, 2019
                                       Respectfully submitted,

                                       LOCKE D. BARKLEY, TRUSTEE

                                       /s/ W. Jeffrey Collier
                                       ATTORNEYS FOR TRUSTEE
                                       W. Jeffrey Collier (MSB 10645)
                                       Melanie T. Vardaman (MSB 100392)
                                       6360 I-55 North, Suite 140
                                       Jackson, Miss. 39211
                                       (601) 355-6661
                                       ssmith@barkley13.com
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                            CERTIFICATE OF SERVICE
       I, the undersigned attorney for the Trustee, do hereby certify that I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
and I hereby certify that I either mailed by United States Postal Service, first class,
postage prepaid, or electronically notified through the CM/ECF system, a copy of the
above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee,
and other parties in interest, if any, as identified below.

      Fay Servicing, LLC
      3000 Kellway Drive, Suite 150
      Carrollton, TX 75006

      Karen A. Maxcy, Esq.
      Attorney for Creditor

      Dated: January 28, 2019

                                        /s/ W. Jeffrey Collier
                                        W. JEFFREY COLLIER
